      Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 1 of 12
                                                                       United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                   IN THE UNITED STATES DISTRICT COURT                   December 03, 2021
                   FOR THE SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk
                            HOUSTON DIVISION



DYLAN WAYNE GUNNELS,                    §
SPN #02078412,                          §
                                        §
                   Plaintiff,           §
                                        §       CIVIL ACTION NO. H-21-2583
V.                                      §
                                        §
HARRIS COUNTY, TEXAS, et al.,           §
                                        §
                   Defendants.          §




                        MEMORANDUM OPINION AND ORDER



       The plaintiff, Dylan Wayne Gunnels, also known as Dave Graham

(SPN #02078412, former TDCJ #1335223), has filed a Complaint for

Violation of Civil Rights under 42 U.S. C.              §   1983    ("Complaint")

(Docket Entry No. 1), alleging that a law enforcement officer made

false statements to the media about him.           The Complaint includes a

Pro    Se   Statement    of   Claim   that   provides       additional      details

("Statement of Claim")         (Docket Entry No. 1-1).          At the court's

request, Gunnels has supplemented his pleadings with Plaintiff's

More Definite Statement ("Plaintiff's MDS") (Docket Entry No. 8).

He also recently filed a Request for Appointment of Counsel to an

Indigent Civil Litigant (Docket Entry No. 10).               That request will

be denied,      and   this    case will be dismissed          for   the     reasons

explained below.
      Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 2 of 12



                                     I.     Background

        Gunnels was arrested and admitted to the Harris County Jail

most recently on November 5, 2020. 1                  He has been charged with at

least a dozen felony offenses, which are pending against him in the

177th District Court of Harris County, Texas:                            (1) unauthorized use

of a motor vehicle in Case No. 1619751;                      (2) evading detention or

arrest with a motor vehicle in Case No.                             1631229;     (3)    evading

detention or arrest with a motor vehicle in Case No.                                   1632294;

(4)    unauthorized use of a motor vehicle in Case No.                                 1649022;

(5) criminal mischief in Case No. 1649025;                     (6) unauthorized use of

a     motor     vehicle      in   Case    No.     1662528;         (7)    tampering     with   a

government record in Case No. 1665839;                       (8)     evading detention or

arrest with a motor vehicle in Case No. 1665840;                           (9) possession of

a controlled substance in Case No. 1666861;                          (10) forgery in Case

No.    1666872;       (11)   possession of a controlled substance in Case

No. 1697033;          (12) evading detention or arrest with a motor vehicle

in Case No. 1697034; and (13) unauthorized use of a motor vehicle

in Case No. 1708258. 2

        The pending civil rights Complaint stems from an incident that

occurred on September 28,                 2019. 3     Gunnels explains that while

attempting        a    traffic    stop     Officer     F.    Acevedo         discharged     his


      Plaintiff's MDS, Docket Entry No. 8, p. 1, response to
        1

Question 1. For purposes of identification all page numbers refer
to the pagination imprinted on each docket entry by the court's
electronic case filing system, ECF.
        2
            Id. at 2-14, responses to Question 3.
        3
            Complaint, Docket Entry No. 1, p. 4.
                                                -2-
   Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 3 of 12



firearm, striking the vehicle that Gunnels was driving and wounding

Gunnels in the arm and head. 4       Following that incident, Sergeant

Dennis Wolford reportedly issued a statement to the media that was

broadcast on the news and on a website operated by "ABC 13,"

stating that "the plaintiff or suspect in question" had attempted

to run over Officer Acevedo. 5       Sergeant Wolford also reportedly

stated that the suspect was later "found [dead]" when, in fact,

Gunnels fled the scene and was not apprehended for months. 6

     Gunnels has filed a separate lawsuit against Officer Acevedo,

Harris County, and Sheriff Ed Gonzalez, regarding the incident that

occurred on September 28, 2019. 7          Gunnels contends that Officer

Acevedo used deadly force in a manner that conflicts with official

policies of the Harris County Sheriff's Office. 8              His lawsuit

against Officer Acevedo is currently stayed pending the outcome of


     4
         Id. at 5; Statement of Claim, Docket Entry No. 1-1, p. 1.
     5
      Statement of Claim, Docket Entry No. 1-1, p. 2; Plaintiff's
MDS, Docket Entry No. 8, p. 15, response to Question 4.
     6
      Id.   Gunnels contends that these statements were widely
reported "on multiple stations and paper media press," including
The Houston Chronicle. See Plaintiff's MDS, Docket Entry No. 8,
pp. 15, 17, and 18, responses to Questions 4, 7, and 8. However,
court personnel have been unable to locate a single media account
referencing the statements attributed to Sergeant Wolford or
identifying Gunnels by name.
     7
      Complaint, Docket Entry No. 1, p. 9; Plaintiff's MDS, Docket
Entry No. 8, p. 20, response to Question 12.
     8
      Plaintiff's MDS, Docket Entry No. 8, p. 15, response to
Question 4. Gunnels references the policy on Use of Force (Policy
# 501) and the policy on Use and Discharge of Firearms (Policy
# 505). See id. (referencing portions of those policies attached
as Exhibits A and B).
                                    -3 -
   Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 4 of 12



criminal �harges that were filed against Gunnels as a result of the

incident that occurred on September 28, 2019.              See Gunnels v.

Acevedo, et al., H-20-1834 (S.D. Tex. June 2, 2020) (Docket Entry

No. 6). Because Gunnels has filed a separate lawsuit involving the

use of force by Officer Acevedo, the court does not consider any of

those allegations in this case. 9

     In the pending Complaint that Gunnels filed in this case, he

sues Harris County, Sheriff Gonzalez, and Sergeant Wolford in

connection with Walford's comments to the media on September 28,

2019, which Gunnels claims were defamatory.10        As a result of media

accounts stating that he tried to "run over a cop and witness,"

Gunnels claims that family and friends no longer speak to him, his

bond has been set at $6,529,999.00, he has been retaliated against

by detention officers at the Jail, and his future job opportunities

have been damaged.11    Invoking 42 U.S.C. § 1983, Gunnels seeks $10

million in punitive damages.12


     9
      Gunnels may not litigate the same claims in two different
lawsuits.   A complaint may be dismissed as malicious under 28
U.S.C. § 1915(e)(2)(B) if it duplicates allegations made in another
federal lawsuit by the same plaintiff. See Pittman v. Moore, 980
F.2d 994, 995 (5th Cir. 1993) (per curiam).     To the extent that
Gunnels has raised claims involving Officer Acevedo in this case,
those claims are dismissed pursuant to § 1915(e)(2)(B).

     10 Complaint, Docket Entry No. 1, pp. 11, 13-14; Plaintiff's
MDS, Docket Entry No. 8, p. 15.
     11 Plaintiff's MDS, Docket Entry No.        8, p. 18, response to
Question 9.
     12
      Complaint, Docket Entry No. 1, p. 5. Although Gunnels also
appears to request compensatory damages for injuries inflicted upon
                                                     (continued...)
                                   -4-
   Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 5 of 12



                                 II.   Standard of Review

        Federal district courts are required by the Prison Litigation

Reform Act ("PLRA") to screen prisoner complaints to identify any

cognizable         claims    or    dismiss        the     case     if   it   is   frivolous,

malicious, or fails to state a claim upon which relief may be

granted.      See Crawford-El v. Britton, 118 S. Ct. 1584, 1596 (1998)

(summarizing          provisions       found        in     the      PLRA,    including     the

requirement that district courts screen prisoners' complaints and

summarily dismiss frivolous, malicious, or meritless actions); see

also    Coleman       v.    Tollefson,       135     S.     Ct.     1759,    1761-62   (2015)

(discussing the screening provision found in the federal in forma

pauperis statute, 28 U.S.C. § 1915(e)(2), and reforms enacted by

the PLRA that were "'designed to filter out the bad claims [filed

by prisoners] and facilitate consideration of the good'") (quoting

Jones    v.       Bock,    127    S.   Ct.    910,        914     (2007))    (alteration   in

original).

       A complaint is frivolous if it "' lacks an arguable basis

either in law or in fact.'"              Denton v. Hernandez, 112 S. Ct. 1728,

1733 (1992) (quoting Neitzke                 v.   Williams, 109 S. Ct. 1827, 1831

(1989)).          "A complaint lacks an arguable basis in law if it is

based on an indisputably meritless legal theory, such as if the

complaint alleges the violation of a legal interest which clearly



          continued)
       12 ( •••

him by Officer Acevedo, the court does not consider these claims
because, for reasons outlined above, those claims are pending in a
separate lawsuit against Officer Acevedo.
                                              -5-
      Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 6 of 12



does not exist."        Harper v. Showers, 174 F.3d 716, 718 (5th Cir.

1999)     (internal     quotation   marks    and    citations    omitted).      "A

complaint lacks an arguable basis in fact if, after providing the

plaintiff      the    opportunity   to    present   additional    facts       when

necessary, the facts alleged are clearly baseless."                  Talib v.

Gilley, 138 F.3d 211, 213 (5th Cir. 1998) (citation omitted).

       To avoid dismissal for failure to state a claim, the factual

allegations in the complaint "must be enough to raise a right to

relief above the speculative level[.] "             Bell Atlantic Corp. v.

Twombly, 127 S. Ct. 1955, 1965 (2007) (citation omitted)                  If the

complaint has not set forth "enough facts to state a claim to

relief that is plausible on its face," it must be dismissed.                   Id.

at 1974.       In making this determination a reviewing court must

"accept all well-pleaded facts as true and construe the complaint

in the light most favorable to the plaintiff."               Heinze v. Tesco

Corporation, 971 F.3d 475, 479 (5th Cir. 2020).              But it need not

accept as true any "conclusory allegations,               unwarranted factual

inferences, or legal conclusions."           Id. (internal quotation marks

and citations omitted); see also White v. U.S. Corrections, LLC,

996    F.3d   302,   307   (5th Cir.     2021)   (same)      In other words,

"[t] hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice."             Ashcroft

v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Twombly, 127 S. Ct.

at 1965).


                                       -6-
     Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 7 of 12



       The plaintiff represents himself in this case.                         Courts are

required     to   give        a    pro   se    litigant's     contentions     a   liberal

construction. See Erickson v. Pardus, 127 S. Ct. 2197, 2200 (2007)

(per curiam)      (citation omitted); see also Haines v. Kerner,                      92

S. Ct. 594, 595-96 (1972) (per curiam) (noting that allegations in

a pro se complaint, however inartfully pleaded, are held to less

stringent standards than formal pleadings drafted by lawyers).

Even under this lenient standard,                      pro se litigants are still

required to "properly plead sufficient facts that, when liberally

construed,    state a plausible claim to relief [.]"                         E.E.O.C. v.

Simbaki,     Ltd.,      767       F.3d 475,      484   (5th   Cir.   2014)    (citations

omitted).

                                     III.      Discussion

A.     Claims Against Sergeant Wolford

      The primary claim asserted by Gunnels is that Sergeant Wolford

made false and defamatory comments about him to the media on

September 28, 2019. 13              To state a claim under 42 U.S.C. § 1983,

however, a plaintiff must show (1) a violation of the Constitution

or of federal law and                (2) that the violation was committed by

someone acting under color of state law.                      See Atteberry v. Nocona

Gen. Hosp.,       430    F.3d 245,            252-53   (5th Cir. 2005)        (citations


     13 Plaintiff's MDS, Docket Entry No. 8, p. 15, response to
Question 4. Although Gunnels also claims that Sergeant Wolford is
liable for failing to supervise Officer Acevedo, he alleges no
facts showing that Wolford had any supervisory authority over him.
See id. at 17, response to Question 7.
                                               -7-
     Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 8 of 12



omitted).     Allegations of defamation do not state a claim under

§ 1983 because claims of libel or slander are actionable, if at

all, only under state law. See Cook v. Houston Post, 616 F.2d 791,

794-95 (5th Cir. 1980).      Because defamation is not actionable under

§ 1983, the claims against Sergeant Wolford will be. dismissed. 14

See Mowbray v. Cameron County, Texas, 274 F.3d 269, 277 (5th Cir.

2001) (observing that allegations of slander do not state a claim

under§ 1983).


B.     Claims Against Harris County

      Gunnels    contends    that   Harris   County    is   liable    for    the

defamatory comments made by Sergeant Wolford because it has "an

unwritten policy that it is OK for ranking officers to lie and

cover up policy violations by other county officials." 15            It is well

established that a municipal entity is not vicariously liable under

a theory of respondeat superior for wrongdoing committed by its

employees.      See Monell v. Dep' t of Social Services of City of


      To the extent that Gunnels asserts a claim under state law,
      14

a claim of defamation in Texas is governed by a one-year statute of
limitations. See Tex. Civ. Prac. & Rem. Code§ 16.002(a). A cause
of action for defamation accrues when a defamatory statement is
published.   See San Antonio Credit Union v. O'Connor, 115 S.W.3d
82, 96 (Tex. App. - San Antonio 2003, pet. denied) (citing Kelley
v. Rinkle, 532 S.W.2d 947, 949 (Tex. 1976)). The Complaint in this
case was executed by Gunnels on July 26, 2021.      See Complaint,
Docket Entry No. 1, p. 11.      Therefore, his claims concerning
comments that were reportedly published on September 28, 2019, are
outside the one-year statute of limitations. For this additional
reason, the claims against Sergeant Wolford will be dismissed.
      Plaintiff's MDS,
      15
                             Docket Entry No. 8,       p. 19,    response to
Question 11.
                                      -8-
    Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 9 of 12



New York,     98 S. Ct. 2018,        2036 (1978) (" [W] e conclude that a

municipality cannot be held liable solely because it employs a

tortfeasor - or, in other words, a municipality cannot be held

liable under     §    1983 on a respondeat superior theory.   11)   (emphasis in

original).       To state a claim for municipal liability under 42

U.S.C. § 1983, a plaintiff must allege "(l) an official policy (or

custom), of which (2) a policy maker can be charged with actual or

constructive knowledge, and (3) a constitutional violation whose

 'moving force' is that policy (or custom).           11   Pineda v.    City of

Houston, 291 F.3d 325, 328 (5th Cir. 2002); see also Monell, 98

S. Ct. at 2037-38.

     Gunnels, who takes issue with an isolated instance in which

statements were made to the media by one officer, does not allege

facts that are sufficient to establish a policy or to state a claim

for relief against Harris County as a municipality.                 See Peterson

v. City of Fort Worth, Texas, 588 F.3d 838, 847 (5th Cir. 2009) ("A

municipality is almost never liable for an isolated unconstitu­

tional act on the part of an employee; it is liable only for acts

directly attributable to it            'through some official action or

·imprimatur.'   11)   (quoting Piotrowski v. City of Houston, 237 F.3d

567, 578 (5th Cir. 2001)).            More importantly,     Gunnels does not

demonstrate       that     the   statements   in   question     violated    his

constitutional rights.           See Paul v. Davis, 96 S. Ct. 1155, 1165-66

(1976) (recognizing that while state tort law may protect against

injury to reputation, a person's reputation does not implicate a

                                        -9-
     Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 10 of 12



liberty or property interest protected by Constitution).                     As a

result, Gunnels fails to state a claim for municipal liability

against Harris County.


C.     Claims Against Sheriff Gonzalez

       Gunnels contends that Sheriff Gonzalez is liable for failing

to "train and supervise" Sergeant Wolford.16 To establish liability

under 42 U.S.C. § 1983 under these circumstances, the plaintiff

must show that:      "(1) the supervisor either failed to supervise or

train the subordinate official; (2) a causal link exists between

the failure to train or supervise                   and the     violation of the

plaintiff's rights;         and (3) the failure to train or supervise

amounts to deliberate indifference.          11
                                                  Goodman v. Harris County, 571

F.3d 388, 395 (5th Cir. 2009) (citation omitted). In this context,

a showing of deliberate indifference requires "a showing of more

than a single instance of the lack of training or supervision

causing a violation of constitutional rights."                        Brumfield v.

Hollins, 551 F.3d 322,         329 (5th Cir.            2008) (internal quotation

marks and citation omitted).

       Gunnels does not allege facts specifying how Harris County's

training program is deficient where statements to the media are

concerned. This is fatal to his claim.                  See Quinn v. Guerrero, 863

F.3d    353,   365   (5th    Cir.   2017)         (In    failure-to-train   cases,


      Plaintiff's MDS,
       16
                              Docket Entry No 8,             p. 19,   response to
Question 10.
                                      -10-
   Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 11 of 12



"[d]efects in a particular training program must be specifically

alleged."); Roberts v. City of Shreveport, 397 F.3d 287, 293 (5th

Cir.   2005) ("[F]or liability to attach based on an 'inadequate

training' claim, a plaintiff must allege with specificity how a

particular training program is defective.") (citation omitted).

       Likewise, as noted above, Gunnels takes issue with an isolated

incident involving one officer's comments to the media, which is

insufficient to establish that his constitutional rights were

violated or that Harris County has adopted an inadequate training

program with the requisite deliberate indifference.           See Zarnow v.

City of Wichita Falls, Texas, 614 F.3d 161, 170 (5th Cir. 2010)

(noting that the Fifth Circuit "has previously rejected attempts by

plaintiffs to present evidence of isolated violations and ascribe

those violations to a failure to train") (citation omitted); see

also Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011) (explaining

that "[a] pattern of similar constitutional violations by untrained

employees is    'ordinarily necessary' to demonstrate            deliberate

indifference for purposes of failure to train") (quoting Board of

County Commissioners of Bryan County, Oklahoma v. Brown, 117 S. Ct.

1382, 1391 (1997)). Therefore, Gunnels has failed to state a claim

against Sheriff Gonzalez.

       Absent a valid claim against any of the defendants,                  the

Complaint will be dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)

for failure to state a claim upon which relief may be granted.


                                   -11-
   Case 4:21-cv-02583 Document 12 Filed on 12/03/21 in TXSD Page 12 of 12




                       IV.   Conclusion and Order

     Based on the foregoing, the court ORDERS as follows:

     1.    The Complaint for Violation of Civil Rights filed
           by Dylan Wayne Gunnels (Docket Entry No. 1) is
           DISMISSED WITH PREJUDICE.

     2.    The dismissal will count as a STRIKE for purposes
           of 28 u.s.c. § 1915(g).

     3.    The plaintiff's Request for Appointment of Counsel
           to an Indigent Civil Litigant (Docket Entry No. 10)
           is DENIED.

     The Clerk is directed to provide a copy of this Memorandum

Opinion and Order to the plaintiff.       The Clerk will also provide a

copy to the Manager of the Three-Strikes List for the Southern

District of Texas.

     SIGNED at Houston, Texas, on this 3rd day of December, 2021.




                                                 SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




                                   -12-
